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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION



 CLIFFORD WEEKS,

        Plaintiff,

 v.                                                CASE NO.: 8:17-cv-01040-EAK-JSS


 PENTAGON FEDERAL CREDIT UNION,

        Defendant.

_____________________________________________________________________________

                           NOTICE OF PENDING SETTLEMENT


       Plaintiff, CLIFFORD WEEKS, by and through his undersigned counsel, hereby submits

this Notice of Settlement and states that Plaintiff, CLIFFORD WEEKS, and Defendant,

PENTAGON FEDERAL CREDIT UNION, have reached a settlement with regard to this case and

are presently drafting, finalizing, and executing the settlement and dismissal documents. Upon

execution of same, the parties will file the appropriate dismissal documents with the Court.



                                               /s/Amanda J. Allen, Esq.
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                                CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that, on October 18, 2017, the foregoing was served using the

CM/ECF system, which will provide electronic notice of filing to all counsel of record.



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